            Case 2:08-cr-00212-TLN Document 313 Filed 05/26/09 Page 1 of 2


 1
 2
 3
 4
 5
 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,     )
10                                 )         CR. No. S-08-212-LKK
                    Plaintiff,     )
11                                 )
               v.                  )
12                                 )         TIME EXCLUSION ORDER
     MIGUEL VASQUEZ, et al.,       )
13                                 )
                    Defendants.    )
14   ______________________________)
15
16         Upon the request of the government and the defendants, the
17   Court continues the next status conference date from April 24,
18   2009 to June 9, 2009 at 9:15 a.m.       All remaining defendants in
19   the case are in plea discussion with the government.           The
20   continuance is necessary for counsel adequately to review the
21   plea offers and conduct further investigation           Thus, the
22   requested continuance is for effective and diligent preparation
23   in this case.     Also the case involves a large volume of
24   discovery and is therefore complex as well.
25   ///
26   ///
27   ///
28   ///
           Case 2:08-cr-00212-TLN Document 313 Filed 05/26/09 Page 2 of 2


 1        The Court finds that the interests of justice served by
 2   granting this continuance outweigh the best interests of the
 3   public and the defendant in a speedy trial.        18 U.S.C. § 3161
 4   (h)(8)(B)(iv) (local code T-4) and time, therefore, will be
 5   excluded from April 24, 2009 through June 9, 2009.
 6
     DATE: May 26, 2009
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         2
